          Case 2:11-cv-07098-AB-JPR Document 635 Filed 12/15/14 Page 1 of 2 Page ID #:34522
                                                                                       UNITED STATES DISTRICT COURT
                                                                                                                  Central District of California

                                                                         APPLICATION TO THE CLERK TO TAX COSTS

 Perfect 10, Inc.
                                                           V.                                                                                      Case Number:                         2:11-cv-07098-AB-SH
 Giganews, Inc., et al.

Judgment was entered in this action on 12/1/2014                                                                             /        628             against Plaintiff, Perfect 10, Inc.                                                                   .
                                                                                                        Date                     Docket No.


  NO HEARING ON THIS APPLICATION WILL BE HELD UNLESS THE CLERK NOTIFIES THE PARTIES OTHERWISE.
 *Defendants will file a separate motion for attorney's fee pursuant to the Judgment.
 Filing fees: see L.R. 54-3.1 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Fees for service of process: see L.R. 54-3.2. . . . . . . . . . ( S e e E x h i b i t A ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                         $26,029.94
 United States Marshal’s fees: see L.R. 54-3.3 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

 Reporter’s transcripts: see L.R. 54-3.4. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Depositions: see L.R. 54-3.5 . . . . . . . . . . . . . . . . . . . . . . . . . . . ( S e e E x h i b i t B ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        $50,963.49
 Witness fees (itemize on page 2): see L.R. 54-3.6 . . . ( S e e E x h i b i t C ) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   $115.18
 Interpreter’s and translator’s fees: see L.R. 54-3.7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Docket fees: see L.R. 54-3.8. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Masters, commissioners and receivers: see L.R. 54-3.9 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Certification, exemplification and reproduction of documents: see L.R. 54-3.10. . ( S e e E x h i b i t D ) . . . . . . . . . . .                                                                                                                 $13,393.44
 Premiums on bonds and undertakings: see L.R. 54-3.11 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Other Costs: see L.R. 54-3.12 (attach court order) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 State Court costs: see L.R. 54-3.13 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Costs on appeal: see L.R. 54-4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
 Cost of a bankruptcy appeal to the District Court: see L.R. 54-5 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .

                                                                                                                                                                                                                                    TOTAL          $90,502.05

NOTE: You must attach an itemization and documentation supporting all requested fees and costs. Documentation includes
receipts, orders, and stipulations. All receipts must be self-explanatory.
                                                            DECLARATION
          I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that the
services for which fees have been charged were actually and necessarily performed. A copy of this application has been served on all
parties by:
              ✔ The Court's CM/ECF System

                                    Conventional service by first class mail
                                    Other

 /s/ Kathleen Lu                                                                                                                                                                 Kathleen Lu
 Signature                                                                                                                                                                       Print Name

 Attorney for: Defendants Giganews, Inc. and Livewire Services, Inc.

 Costs are taxed in the amount of

                                                                                                                By:
Clerk of Court                                                                                                               Deputy Clerk                                                                                                   Date

CV-59 (12/14)                                                                                                                           BILL OF COSTS                                                                                               Page 1 of 2
      Case 2:11-cv-07098-AB-JPR Document 635 Filed 12/15/14 Page 2 of 2 Page ID #:34523
                                WITNESS FEES (computation, see 28 U.S.C. § 1821 for statutory fees)
                                                    ATTENDANCE            SUBSISTENCE              MILEAGE
                                                                                                                     Total Cost
                NAME, CITY AND STATE
                                                   Days                Days                            Total Cost   Each Witness
                                                          Total Cost           Total Cost   Miles
     Gwendalyn Augustine, Los Angeles, CA           1       $40.00                           23         $13.00                $53.00
          Jennifer McCall, Van Nuys, CA             1       $40.00                          39.6        $22.18                $62.18




                                                                                                         TOTAL              $115.18


CV-59 (12/14)                                             BILL OF COSTS                                                  Page 2 of 2
